Case 3:17-cv-00072-NKM-JCH Document 53 Filed 11/01/17 Page 1of1 Pageid#: 204

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff

vs. Case No: 3:17CV00072

Jason Kessler, et al.

Defendant

AFFIDAVIT OF SERVICE

1, R. Wayne Tonker, a Private Process Server, being duly sworn, depose and say:

That I have been duly authorized to make service of the Summons, Civil Cover Sheet with Addendum, Complaint, and Plaintiffs’
Jury Demand in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this matter,

That on 10/31/2017 at 9:38 AM, I served Jason Kessler with the Summons, Civil Cover Sheet with Addendum, Complaint, and
Plaintiffs' Jury Demand at 300 Block of Park Street between East Jefferson Street. and High Street, Charlottesville, Virginia 22902,
by serving Jason Kessler, personally.

Jason Kessler is described herein as:

Gender: Male Race/Skin: White Age: 30's Weight: 150 Height: 5'7" Hair: Dark Brown Glasses: No

Ido solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

 

hoor pe wm No j ) ————

Executed On R. Wayne Vohker

 

Client Ref Number:N/A
Job # 1534510

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